18-01604-smb         Doc 9       Filed 11/06/18       Entered 11/06/18 15:54:19                Main Document
                                                     Pg 1 of 30
                                     Hearing Date: December 11, 2018 at 10:00 a.m. (prevailing Eastern Time)
                                  Objection Deadline: December 4, 2018 at 4:00 p.m. (prevailing Eastern Time)

Beth E. Levine, Esq.
Andrew W. Caine, Esq. (admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
blevine@pszjlaw.com
acaine@pszjlaw.com

Counsel to Plaintiff, Robert Michaelson, in his capacity as
Trustee of the International Shipholding GUC Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                    Chapter 11
INTERNATIONAL SHIPHOLDING
CORPORATION, et al.,1                                               Case No. 16-12220 (SMB)

                                    Debtors.                        (Jointly Administered)

ROBERT MICHAELSON, in his capacity as
TRUSTEE OF THE INTERNATIONAL
SHIPHOLDING GUC TRUST,                                              Adv. Proc. No. 18-01604 (SMB)

                                    Plaintiff,

         v.

PORT MANATEE SHIP REPAIR &
FABRICATION, L.L.C.,

                                    Defendant.


                                            NOTICE OF HEARING


1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
International Shipholding Corporation (9662); Enterprise Ship Co. (9059); Sulphur Carriers, Inc. (8965); Central
Gulf Lines, Inc. (8979); Coastal Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen &
Co., Inc. (8006); LMS Shipmanagement, Inc. (0660); U.S. United Ocean Services, LLC (1160); Mary Ann Hudson,
LLC (8478); Sheila McDevitt, LLC (8380); Tower LLC (6755); Frascati Shops, Inc. (7875); Gulf South Shipping
PTE LTD (8628); LCI Shipholdings, Inc. (8094); Dry Bulk Australia LTD (5383); Dry Bulk Americas LTD (6494);
and Marco Shipping Company PTE LTD (4570).



DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9   Filed 11/06/18    Entered 11/06/18 15:54:19      Main Document
                                              Pg 2 of 30



        PLEASE TAKE NOTICE that a hearing on the Motion for Default Judgment Against

Port Manatee Ship Repair & Fabrication, L.L.C. (the “Motion”) filed by Robert Michaelson, in

his capacity as Trustee of the International Shipholding GUC Trust (the “GUC Trustee” or

“Plaintiff”) on November 6, 2018, shall be held before the Honorable Stuart M. Bernstein,

United States Bankruptcy Judge, United States Bankruptcy Court (the “Bankruptcy Court”), One

Bowling Green, Courtroom 723, New York, New York 10004 on December 11, 2018 at 10:00

a.m. (prevailing Eastern Time), or as soon thereafter as counsel may be heard.

        PLEASE TAKE FURTHER NOTICE that any responses, if any, to the Motion must

be made in writing; shall conform to the Federal Rules of Bankruptcy Procedure and the Local

Rules of the Bankruptcy Court; shall be filed with the Bankruptcy Court with a hard copy

delivered to Chambers, and served, so as to be received no later than December 4, 2018 at 4:00

p.m. (prevailing Eastern Time) by counsel for the Plaintiff: Pachulski Stang Ziehl & Jones

LLP, 780 Third Avenue, 34th Floor, New York, New York 10017, Attn: Beth E. Levine, Esq.,

Email: blevine@pszjlaw.com and Andrew W. Caine, Esq., Email: acaine@pszjlaw.com. Only

those responses made in writing and timely filed and received will be considered at the




                                              2
DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9   Filed 11/06/18    Entered 11/06/18 15:54:19        Main Document
                                              Pg 3 of 30


Hearing. Any such response must state with specificity the reason or reasons why the relief

requested in the Motion should not be granted.

Dated:     November 6, 2018
           New York, NY

                                               /s/ Beth E. Levine
                                               Beth E. Levine
                                               Andrew W. Caine (admitted pro hac vice)
                                               PACHULSKI, STANG, ZIEHL & JONES LLP
                                               780 Third Avenue, 34th Floor
                                               New York, New York 10017
                                               Telephone: (212) 561-7700
                                               Facsimile: (212) 561-7777
                                               Email: blevine@pszjlaw.com
                                                       acaine@pszjlaw.com

                                               Counsel to Plaintiff, Robert Michaelson, in his
                                               capacity as Trustee of the International Shipholding
                                               GUC Trust




                                              3
DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9       Filed 11/06/18       Entered 11/06/18 15:54:19                Main Document
                                                     Pg 4 of 30
                                     Hearing Date: December 11, 2018 at 10:00 a.m. (prevailing Eastern Time)
                                  Objection Deadline: December 4, 2018 at 4:00 p.m. (prevailing Eastern Time)

Beth E. Levine, Esq.
Andrew W. Caine, Esq. (admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
blevine@pszjlaw.com
acaine@pszjlaw.com

Counsel to Plaintiff, Robert Michaelson, in his capacity as
Trustee of the International Shipholding GUC Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                    Chapter 11
INTERNATIONAL SHIPHOLDING
CORPORATION, et al.,1                                               Case No. 16-12220 (SMB)

                                    Debtors.                        (Jointly Administered)

ROBERT MICHAELSON, in his capacity as
TRUSTEE OF THE INTERNATIONAL
SHIPHOLDING GUC TRUST,                                              Adv. Proc. No. 18-01604 (SMB)

                                    Plaintiff,

         v.

PORT MANATEE SHIP REPAIR &
FABRICATION, L.L.C.,

                                    Defendant.


                  MOTION FOR DEFAULT JUDGMENT AGAINST
          DEFENDANT PORT MANATEE SHIP REPAIR & FABRICATION, L.L.C.

1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
International Shipholding Corporation (9662); Enterprise Ship Co. (9059); Sulphur Carriers, Inc. (8965); Central
Gulf Lines, Inc. (8979); Coastal Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen &
Co., Inc. (8006); LMS Shipmanagement, Inc. (0660); U.S. United Ocean Services, LLC (1160); Mary Ann Hudson,
LLC (8478); Sheila McDevitt, LLC (8380); Tower LLC (6755); Frascati Shops, Inc. (7875); Gulf South Shipping
PTE LTD (8628); LCI Shipholdings, Inc. (8094); Dry Bulk Australia LTD (5383); Dry Bulk Americas LTD (6494);
and Marco Shipping Company PTE LTD (4570).



DOCS_NY:38297.3 42331/003
18-01604-smb           Doc 9    Filed 11/06/18    Entered 11/06/18 15:54:19          Main Document
                                                 Pg 5 of 30


        Plaintiff, Robert Michaelson, in his capacity as Trustee of the International Shipholding

GUC Trust (the “GUC Trustee” or “Plaintiff”), pursuant to the provisions of Rule 55 of the

Federal Rules of Civil Procedure, made applicable by Rule 7055 of the Federal Rules of

Bankruptcy Procedure, hereby moves for an order:

        (1) entering a default judgment against defendant Port Manatee Ship Repair &

Fabrication, L.L.C. (“Port Manatee”) in the amount of $516,626.00 plus judgment interest at the

federal judgment rate from the date of judgment until paid in full; and (2) granting such other

and further relief as is just and proper. In support of this motion, the undersigned respectfully

represents as follows:

                                             JURISDICTION

                  1.        This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§ 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this

district pursuant to 28 U.S.C. §§ 1391(a)(2)and 1409(d). The predicates for the relief requested

herein are Rule 55 of the Federal Rules of Civil Procedure and Rule 7055 of the Federal Rules of

Bankruptcy Procedure.

                                             BACKGROUND

                  2.        Plaintiff filed the complaint (the “Complaint”) in this action on July 23,

2018 [Docket No. 1]. A copy of the Complaint is attached hereto as Exhibit A.

                  3.        The summons (the “Summons”) in this action was issued on July 24, 2018

[Docket No. 2].

                  4.        The Summons and Complaint in this action were served by First Class

Mail and by Certified Mail, Return Receipt Requested postage paid and deposited with the U.S.

Postal Service.



                                                  2
DOCS_NY:38297.3 42331/003
18-01604-smb          Doc 9     Filed 11/06/18    Entered 11/06/18 15:54:19          Main Document
                                                 Pg 6 of 30


                 5.         The time for filing an answer or other responsive pleading has expired,

and no answer or other responsive pleading has been received by Plaintiff or, upon information

and belief, filed with the Court.

                 6.         The Clerk of the Court entered a default against Port Manatee on

September 28, 2018 [Docket No. 6]. A copy of the Clerk of the Court’s Entry of Default is

attached hereto as Exhibit B.

                 7.         An Affidavit of Sum Certain in Support of the Motion for Default

Judgment (the “Affidavit of Sum Certain”) is attached hereto as Exhibit C.

                 8.         As set forth in the accompanying Affidavit of Beth E. Levine In Support

Of Motion For Default Judgment (the “Levine Affidavit”), attached hereto as Exhibit D, Port

Manatee is a limited liability company, and, accordingly, is not an infant, an incompetent person,

or on active duty in the armed forces of the United States. Levine Affidavit, ¶ ¶ 3 and 4.

                                         RELIEF REQUESTED

                 9.         By this Motion, Plaintiff seeks an order, in substantially the form attached

hereto as Exhibit E, (a) directing the Clerk of the Court to enter a default judgment against

defendant Port Manatee in the amount of $516,626.00 plus judgment interest; and (b) granting

such other and further relief as this Court deems just and proper.

                                           BASIS FOR RELIEF

        B.       The Court Should Enter Default Judgment Against
                 Port Manatee Granting the Relief Requested in the Complaint

                 10.        Rule 55(b) of the Federal Rules of Civil Procedure, made applicable here

by Rule 7055 of the Federal Rules of Bankruptcy Procedure provides in relevant part:

        Judgment by default may be entered as follows:
                (1) By the Clerk. When the plaintiff’s claim against a defendant is for a
        sum certain or for a sum which upon computation can be made certain, the clerk
        of the court upon request of the plaintiff and upon affidavit of the amount due

                                                  3
DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9      Filed 11/06/18     Entered 11/06/18 15:54:19         Main Document
                                                  Pg 7 of 30


        shall enter judgment for the that amount and costs against the defendant, if the
        defendant has been defaulted for failure to appear and is not an infant or
        incompetent person.

                 (2) By the Court. In all other cases the party entitled to judgment by
        default shall apply to the court therefore; but no judgment by default shall be
        entered against an infant or incompetent person unless represented in the action
        by a general guardian, committee, conservator, or other such representative who
        has appeared therein. If the party against whom judgment by default is sought has
        appeared in the action, the party (or if appearing by representative, the party’s
        representative) shall be served with written notice of the application for judgment
        at least three days prior to the hearing on such application. . . .

Fed. R. Civ. Pr. 55(b)(1) and (2).

        C.       Plaintiff Can Meet Its Burden On Motion For Entry Of A Default Judgment

                 11.        In its First and Second Claims for Relief as filed in its Complaint, the

Plaintiff seeks to avoid a transfer of the Debtors’ funds to Port Manatee totaling $516,276.00 as

preferential transfers made within 90 days of the filing of the Debtors’ chapter 11 petition

pursuant to 11 U.S.C. §§ 547 and 550, or recover the value thereof.

                 12.        Plaintiff is seeking a judgment to recover preferential payments pursuant

to 11 U.S.C. § 547 of the Bankruptcy Code in the amount of $516,276.00, plus filing fees of

$350.00 as set forth in the Levine Affidavit, and post-judgment interest.

                 13.        As more fully set forth in the Affidavit of Sum Certain, transfer of the

Debtors’ property was made to Defendant in an exact sum and on the dates and in the amounts

set forth in Exhibit A to the Complaint.

                 14.        The Clerk of the Court has entered Port Manatee’s default. Port Manatee

is neither a minor nor an incompetent. Although it has been given ample opportunity to

participate in this action, it has declined to do. As set forth in the Affidavit of Sum Certain and

the Levine Affidavit, it is indisputable that Port Manatee is liable to Plaintiff in the amount of

$516,626.00, plus judgment interest.




                                                  4
DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9      Filed 11/06/18    Entered 11/06/18 15:54:19         Main Document
                                                 Pg 8 of 30


                 15.        Pursuant to Rule 55 of the Federal Rules of Civil Procedure, an order

directing the Clerk of the Court to enter a default judgment against Port Manatee in the amount

of $516,626.00, plus judgment interest is plainly appropriate here.

                                 NOTICE AND PRIOR APPLICATION

                 16.        Notice of this motion is being provided to: (i) Port Manatee Ship Repair &

Fabrication, L.L.C., 2114 Piney Point Road, Palmetto, FL 34221; (ii) Port Manatee Ship Repair

& Fabrication, L.L.C., Attn: Frank Kerney, President, 210 National St., Warehouse #3, Manatee

Port Authority, Palmetto, FL 34221; (iii) Port Manatee Ship Repair & Fabrication, L.L.C., Attn:

Frank H. Kerney III, Esq., Manager / R/A, 5709 E. Longboat Blvd., Tampa, FL 33615; (iv) Port

Manatee Ship Repair & Fabrication, L.L.C., Attn: Chief Financial Officer/Legal Dept., P.O. Box

2547, Oldsmar, FL 34677; and (v) Port Manatee Ship Repair & Fabrication, L.L.C., Attn: Chief

Financial Officer/Legal Dept., 5709 E. Longboat Blvd., Tampa, FL 33615. Plaintiff submits that

no other or further notice is necessary.

                 17.        No prior request has for the relief sought herein has been made to this or

any other Court.




                                                  5
DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9   Filed 11/06/18    Entered 11/06/18 15:54:19        Main Document
                                              Pg 9 of 30


                                        CONCLUSION

         WHEREFORE, the GUC Trustee requests that this Court enter an order substantially in

the form annexed hereto directing the Clerk of the Court to enter a default judgment against Port

Manatee and granting such other and further relief as this Court deems just and proper.

Dated:     November 6, 2018
           New York, NY

                                               /s/ Beth E. Levine
                                               Beth E. Levine
                                               Andrew W. Caine (admitted pro hac vice)
                                               PACHULSKI, STANG, ZIEHL & JONES LLP
                                               780 Third Avenue, 34th Floor
                                               New York, New York 10017
                                               Telephone: (212) 561-7700
                                               Facsimile: (212) 561-7777
                                               Email: blevine@pszjlaw.com
                                                       acaine@pszjlaw.com

                                               Counsel to Plaintiff, Robert Michaelson, in his
                                               capacity as Trustee of the International Shipholding
                                               GUC Trust




                                              6
DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                           Pg 10 of 30



                                     EXHIBIT A




DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9
                         1       Filed 11/06/18
                                       07/23/18 Entered 11/06/18
                                                          07/23/18 15:54:19
                                                                   13:09:52                    Main Document
                                               Pg
                                                Pg11
                                                   1 of 8
                                                        30


Beth E. Levine, Esq.
Andrew W. Caine, Esq. (admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
blevine@pszjlaw.com
acaine@pszjlaw.com

Counsel to Plaintiff, Robert Michaelson, in his capacity as
Trustee of the International Shipholding GUC Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                    Chapter 11
INTERNATIONAL SHIPHOLDING
CORPORATION, et al.,1                                               Case No. 16-12220 (SMB)

                                    Debtors.                        (Jointly Administered)

ROBERT MICHAELSON, in his capacity as
TRUSTEE OF THE INTERNATIONAL
SHIPHOLDING GUC TRUST,                                              Adv. Proc. No. 18-___________

                                    Plaintiff,

         v.

PORT MANATEE SHIP REPAIR &
FABRICATION, L.L.C.,

                                    Defendant.


                 COMPLAINT FOR AVOIDANCE AND RECOVERY
         OF PREFERENTIAL TRANSFERS PURSUANT TO 11 U.S.C. §§ 547 & 550
1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
International Shipholding Corporation (9662); Enterprise Ship Co. (9059); Sulphur Carriers, Inc. (8965); Central
Gulf Lines, Inc. (8979); Coastal Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen &
Co., Inc. (8006); LMS Shipmanagement, Inc. (0660); U.S. United Ocean Services, LLC (1160); Mary Ann Hudson,
LLC (8478); Sheila McDevitt, LLC (8380); Tower LLC (6755); Frascati Shops, Inc. (7875); Gulf South Shipping
PTE LTD (8628); LCI Shipholdings, Inc. (8094); Dry Bulk Australia LTD (5383); Dry Bulk Americas LTD (6494);
and Marco Shipping Company PTE LTD (4570).



DOCS_LA:315877.1 42331/003
18-01604-smb          Doc 9
                          1      Filed 11/06/18
                                       07/23/18 Entered 11/06/18
                                                          07/23/18 15:54:19
                                                                   13:09:52          Main Document
                                               Pg
                                                Pg12
                                                   2 of 8
                                                        30



        Plaintiff, Robert Michaelson, in his capacity as Trustee of the International Shipholding

GUC Trust (the “GUC Trustee” or “Plaintiff”), for his Complaint for Avoidance and Recovery of

Preferential Transfers Pursuant to 11 U.S.C. §§ 547 & 550 against Port Manatee Ship Repair &

Fabrication, L.L.C. (the “Defendant”), alleges as follows:

                                            Nature of the Action

                 1.          The Plaintiff brings this action against the Defendant to avoid and recover

certain preferential transfers that occurred during the 90-day period prior to commencement of

the Debtors’ bankruptcy cases.
                                                 The Parties


                 2.          Pursuant to the Findings of Fact, Conclusions of Law and Order

Confirming First Amended Modified Joint Chapter 11 Plan of Reorganization for International

Shipholding Corporation and Its Affiliated Debtors filed on March 2, 2017 [Docket No. 671]

(the “Confirmation Order”) in the above-referenced bankruptcy case, the Bankruptcy Court

granted authority for the GUC Trustee to prosecute avoidance actions on behalf of the Debtors’

estates. See First Amended Joint Chapter 11 Plan of Reorganization of International

Shipholding Corporation and its Affiliated Debtors [Docket No. 671-1] (the “Plan”) at

§§ 9.5 - 9.6.

                 3.          Upon information and belief, the Defendant is a limited liability company

formed under the laws of the State of Florida that maintains its principal place of business at

2114 Piney Point Road, Palmetto, Florida.




DOCS_LA:315877.1 42331/003                            2
18-01604-smb          Doc 9
                          1      Filed 11/06/18
                                       07/23/18 Entered 11/06/18
                                                          07/23/18 15:54:19
                                                                   13:09:52         Main Document
                                               Pg
                                                Pg13
                                                   3 of 8
                                                        30



                                          Jurisdiction and Venue

                 4.          This Court has jurisdiction over this adversary proceeding pursuant to

28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief requested herein

are sections 363(b), 1103(c) and 1107 (a) of the Bankruptcy Code and Federal Rules of

Bankruptcy Procedure 9019(a).

                 5.          This adversary proceeding is commenced pursuant to Rule 7001(1) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and sections 547 and 550 of

the Bankruptcy Code.

                                             Case Background

                 6.          On August 1, 2016 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code. On March 2, 2017, the

Court entered the Confirmation Order, confirming the Plan. On July 3, 2017, the Effective Date

of the Plan occurred. See Notice of (I) Entry of Order Confirming the First Amended Modified

Joint Chapter 11 Plan of Reorganization for International Shipholding Corporation and its

Affiliated Debtors; (II) Occurrence of Effective Date; and (III) Deadline for Filing Fee Claims

and Administrative Expense Claims [Docket No. 796] (the “Effective Date Notice”).

                 7.          Pursuant to the Plan and Confirmation Order, the Plaintiff was appointed

on the Effective Date “to implement the Plan with respect to all Debtors,” including to

“prosecute any GUC Trust Causes of Action.” Plan, at § 9.6. GUC Trust Causes of Action




DOCS_LA:315877.1 42331/003                            3
18-01604-smb          Doc 9
                          1      Filed 11/06/18
                                       07/23/18 Entered 11/06/18
                                                          07/23/18 15:54:19
                                                                   13:09:52           Main Document
                                               Pg
                                                Pg14
                                                   4 of 8
                                                        30



include the recovery of preferential transfers under section 547 of the Bankruptcy Code. Plan, at

§§ 1.1.9, 1.1.68.

                                                     Facts

                 8.          Prior to the Petition Date, International Shipholding (“ISH”) and its

Debtor and non-Debtor affiliates were engaged in waterborne cargo transportation and

maintained a diversified customer base with emphasis on medium and long term contracts.

                 9.          Prior to the Petition Date, the Debtors made certain payments to

Defendant for goods and/or services provided to the Debtors pursuant to invoices or statements

submitted by Defendant to the Debtors, including but not limited to the transactions between the

parties identified on Exhibit A attached hereto.

                 10.         During the ninety days prior to the Petition Date, International

Shipholding Corporation and U.S. United Ocean Services, LLC made payments to or for the

benefit of the Defendant, including those identified on Exhibit A attached hereto (collectively,

the “Transfers”). Exhibit A sets forth the details of each of the Transfers, including check or

payment number, payment date and payment amount. The aggregate amount of the Transfers is

not less than $516,276.00.

                 11.         Although it is possible some Transfers might be subject in whole or in part

to defenses under 11 U.S.C. § 547(c), Defendant bears the burden of proof pursuant to 11 U.S.C.

§ 547(g) to establish any defense(s) under 11 U.S.C. § 547(c). Plaintiff sent an advance demand

letter to Defendant inviting an exchange of information regarding any potential defenses, but the

parties were unable to reach any resolution as to the validity of the defenses.



DOCS_LA:315877.1 42331/003                             4
18-01604-smb         Doc 9
                         1       Filed 11/06/18
                                       07/23/18 Entered 11/06/18
                                                          07/23/18 15:54:19
                                                                   13:09:52           Main Document
                                               Pg
                                                Pg15
                                                   5 of 8
                                                        30



                                            First Claim for Relief

                       (Avoidance of Preferential Transfers—11 U.S.C. § 547)

                 12.         The Plaintiff repeats and realleges the allegations in paragraphs 1

through 11, above, as though fully set forth at length.

                 13.         Within the ninety days prior to the Petition Date, International

Shipholding Corporation and U.S. United Ocean Services, LLC made the Transfers to Defendant

in the total amount of $516,276.00, as more specifically described in Exhibit A.

                 14.         Each of the Transfers to the Defendant was a transfer of property of the

Debtors.

                 15.         Each of the Transfers to the Defendant was made to or for the benefit of

the Defendant.

                 16.         The Defendant was a creditor of the Debtors (within the meaning of

11 U.S.C. § 110(10)) at the time each of the Transfers was made or, alternatively, received the

Transfers for the benefit of a creditor or creditors of the Debtors.

                 17.         Each of the Transfers to the Defendant was made on account of an

antecedent debt owed by the Debtors to the Defendant before the Transfer was made.

                 18.         Each of the Transfers was made while International Shipholding

Corporation and U.S. United Ocean Services, LLC were insolvent. Moreover, each Debtor was

presumed to be insolvent during the 90 days preceding the Petition Date pursuant to 11 U.S.C.

§ 547(f).




DOCS_LA:315877.1 42331/003                             5
18-01604-smb          Doc 9
                          1       Filed 11/06/18
                                        07/23/18 Entered 11/06/18
                                                           07/23/18 15:54:19
                                                                    13:09:52           Main Document
                                                Pg
                                                 Pg16
                                                    6 of 8
                                                         30



                 19.         Each of the Transfers enabled the Defendant to receive more than the

Defendant would have received if (i) the transfers and/or payments had not been made, and

(ii) the Defendant received payment on account of the debt paid by each of the Transfers to the

extent provided by the Bankruptcy Code.

                 20.         As of the date hereof, the Defendant has not returned any of the Transfers

to the Plaintiff.

                 21.         The Plaintiff is entitled to an order and judgment under 11 U.S.C. § 547

that the Transfers are avoided.

                                           Second Claim for Relief

                                 (Recovery of Property—11 U.S.C. § 550)

                 22.         The Plaintiff repeats and realleges the allegations in paragraphs 1

through 21, above, as though fully set forth at length.

                 23.         Pursuant to 11 U.S.C. § 550(a), to the extent that a transfer is avoided

under 11 U.S.C. § 547, the Plaintiff may recover for the benefit of the estate the property

transferred or the value of such property from (a) the initial transferee of such transfer or the

entity for whose such transfer was made or (b) any immediate or mediate transferee of such

initial transferee.

                 24.         The Defendant is either the (a) initial transferee of the Transfers, the entity

for whose benefit the Transfers were made, or (b) an immediate or mediate transferee of the

initial transferee.




DOCS_LA:315877.1 42331/003                              6
18-01604-smb         Doc 9
                         1       Filed 11/06/18
                                       07/23/18 Entered 11/06/18
                                                          07/23/18 15:54:19
                                                                   13:09:52            Main Document
                                               Pg
                                                Pg17
                                                   7 of 8
                                                        30



                 25.         Subject to the Defendant’s potential defenses, the Plaintiff is entitled to

recover the value of the Transfers pursuant to 11 U.S.C. § 550(a).

         WHEREFORE, the Plaintiff prays for judgment as follows:

         1.      For a determination that each of the Transfers is avoidable as a preferential

transfer under Section 547 of the Bankruptcy Code and that the Plaintiff is entitled to recover the

Transfers in the total amount of $516,276.00 under Section 550 of the Bankruptcy Code;

         2.      For costs of suit incurred herein, including, without limitation, attorneys’ fees;

         3.      For pre- and post-judgment interest on the judgment amount to the fullest extent

allowed by applicable law; and

         4.      For such other and further relief as the Court may deem just and proper.

Dated:     July 23, 2018
           New York, NY

                                                    /s/ Beth E. Levine
                                                    Beth E. Levine
                                                    Andrew W. Caine (admitted pro hac vice)
                                                    PACHULSKI, STANG, ZIEHL & JONES LLP
                                                    780 Third Avenue, 34th Floor
                                                    New York, New York 10017
                                                    Telephone: (212) 561-7700
                                                    Facsimile: (212) 561-7777
                                                    Email: blevine@pszjlaw.com
                                                            acaine@pszjlaw.com

                                                    Counsel to Plaintiff, Robert Michaelson, in his
                                                    capacity as Trustee of the International Shipholding
                                                    GUC Trust




DOCS_LA:315877.1 42331/003                             7
         18-01604-smb            Doc 9
                                     1      Filed 11/06/18
                                                  07/23/18 Entered 11/06/18
                                                                     07/23/18 15:54:19
                                                                              13:09:52                     Main Document
                                                          Pg
                                                           Pg18
                                                              8 of 8
                                                                   30
Payments within 90 Days                                                           In re:  International Shipholding Corporation, et al., Debtors
Petition Date:  August 1, 2016                                                  USBC, Southern District of New York Case No. 16‐12220 (SMB)




                                                                                                                                 90 Day 
                                 Debtor That Made                                  Payment                      Payment 
         Vendor Name                                  Invoice #     Invoice Date                 Payment #                     Payment 
                                     Payment                                         Date                        Type 
                                                                                                                               Amount 

  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1095        3/10/2016      5/25/2016      117981          WT        $        2,882.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1101        4/27/2016      5/25/2016      117981          WT        $        1,137.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1103         4/5/2016      5/25/2016      117981          WT        $        3,103.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1109        4/15/2016      5/25/2016      117981          WT        $           232.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1110        4/15/2016      5/25/2016      117981          WT        $      35,466.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1149        5/18/2016      5/25/2016      117981          WT        $        2,456.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1152        5/25/2016      5/25/2016      117982          WT        $      50,000.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &     U.S. United Ocean 
                                                        1151        5/25/2016      5/26/2016      117997          WT        $      21,000.00 
       Fabrication L.L.C.           Services, LLC
  Port Manatee Ship Repair &       International 
                                                        1160         6/2/2016      6/7/2016       118101          WT        $      50,000.00 
       Fabrication L.L.C.        Shipholding Corp.
  Port Manatee Ship Repair &       International 
                                                        1171        6/13/2016      6/13/2016      118164          WT        $      50,000.00 
       Fabrication L.L.C.        Shipholding Corp.
  Port Manatee Ship Repair &       International 
                                                        1172        6/11/2016      6/13/2016      118164          WT        $    200,000.00 
       Fabrication L.L.C.        Shipholding Corp.
  Port Manatee Ship Repair &       International 
                                                        1177        6/30/2016      7/8/2016       118456          WT        $    100,000.00 
       Fabrication L.L.C.        Shipholding Corp.
                                                                                                                            $    516,276.00 




                                                               EXHIBIT A
18-01604-smb         Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                           Pg 19 of 30



                                     EXHIBIT B




DOCS_NY:38297.3 42331/003
    18-01604-smb
     18-01604-smb Doc
                   Doc9 6 Filed
                            Filed
                                11/06/18
                                  09/28/18 Entered
                                             Entered11/06/18
                                                      09/28/18
                                                             15:54:19
                                                               12:36:11 Main
                                                                         Clerks
                                                                             Document
                                                                                Entry of
                                     Default
                                         Pg 20Pg
                                               of 30
                                                  1 of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York

In re: International Shipholding Corporation                                     Bankruptcy Case No.: 16−12220−smb

Robert Michaelson, in his capacity as Trustee of the International Shipholding
GUC Trust
                                                      Plaintiff(s),
                                                                                             Adversary Proceeding No.
−against−                                                                                              18−01604−smb
Port Manatee Ship Repair & Fabrication, L.L.C.
                                                     Defendant(s)




                                               ENTRY OF DEFAULT

It appears from the record that the following defendant failed to plead or otherwise defend in this case as required by
law.

                                  Name: Port    Manatee Ship Repair & Fabrication,
                                            L.L.C.
Therefore, default is entered against the defendant as authorized by Bankruptcy Rule 7055.




Dated: 9/28/18                                                                      Vito Genna

                                                                                    Clerk of the Court

                                                                                    By: /s/ Dawn McCaffrey

                                                                                    Deputy Clerk
18-01604-smb         Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                           Pg 21 of 30



                                     EXHIBIT C




DOCS_NY:38297.3 42331/003
18-01604-smb   Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                     Pg 22 of 30
18-01604-smb   Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                     Pg 23 of 30
18-01604-smb         Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                           Pg 24 of 30



                                     EXHIBIT D




DOCS_NY:38297.3 42331/003
18-01604-smb   Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                     Pg 25 of 30
18-01604-smb   Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                     Pg 26 of 30
18-01604-smb   Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                     Pg 27 of 30
18-01604-smb         Doc 9   Filed 11/06/18 Entered 11/06/18 15:54:19   Main Document
                                           Pg 28 of 30



                                     EXHIBIT E




DOCS_NY:38297.3 42331/003
18-01604-smb         Doc 9       Filed 11/06/18 Entered 11/06/18 15:54:19                      Main Document
                                               Pg 29 of 30


Beth E. Levine, Esq.
Andrew W. Caine, Esq. (admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
blevine@pszjlaw.com
acaine@pszjlaw.com

Counsel to Plaintiff, Robert Michaelson, in his capacity as
Trustee of the International Shipholding GUC Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                    Chapter 11
INTERNATIONAL SHIPHOLDING
CORPORATION, et al.,1                                               Case No. 16-12220 (SMB)

                                    Debtors.                        (Jointly Administered)

ROBERT MICHAELSON, in his capacity as
TRUSTEE OF THE INTERNATIONAL
SHIPHOLDING GUC TRUST,                                              Adv. Proc. No. 18-01604 (SMB)

                                    Plaintiff,

         v.

PORT MANATEE SHIP REPAIR &
FABRICATION, L.L.C.,

                                    Defendant.


                 ORDER GRANTING MOTION FOR DEFAULT JUDGMENT
              AGAINST PORT MANATEE SHIP REPAIR & FABRICATION, L.L.C.

1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
International Shipholding Corporation (9662); Enterprise Ship Co. (9059); Sulphur Carriers, Inc. (8965); Central
Gulf Lines, Inc. (8979); Coastal Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen &
Co., Inc. (8006); LMS Shipmanagement, Inc. (0660); U.S. United Ocean Services, LLC (1160); Mary Ann Hudson,
LLC (8478); Sheila McDevitt, LLC (8380); Tower LLC (6755); Frascati Shops, Inc. (7875); Gulf South Shipping
PTE LTD (8628); LCI Shipholdings, Inc. (8094); Dry Bulk Australia LTD (5383); Dry Bulk Americas LTD (6494);
and Marco Shipping Company PTE LTD (4570).



DOCS_NY:38297.3 42331/003
18-01604-smb          Doc 9     Filed 11/06/18 Entered 11/06/18 15:54:19           Main Document
                                              Pg 30 of 30


                 Upon the Motion for Default Judgment (“the Motion”), dated November 6, 2018

of plaintiff, Robert Michaelson, in his capacity as Trustee of the International Shipholding GUC

Trust (the “GUC Trustee” or “Plaintiff”) seeking entry of a default judgment against defendant

Port Manatee Ship Repair & Fabrication, L.L.C. (“Port Manatee”) and default having been

entered against Port Manatee on September 28, 2018, and upon consideration of the Motion and

the accompanying Affidavit of Sum Certain and Affidavit of Beth E. Levine, and due and proper

notice of the Motion having been given, and a hearing on the Motion having taken place on

December __, 2018, and after due deliberation and sufficient cause appearing therefore;

                 IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

                 1.         The Motion is granted in all respects.

                 2.         Plaintiff is awarded judgment against Port Manatee.

                 3.         The Clerk of the Court is directed to enter judgment against defendant Port

Manatee in the amount of $516,626.00 plus judgment interest from the date of entry of judgment

at the federal judgment rate until paid in full.


Dated:     New York, New York
           ____________, 2018


                                            HONORABLE STUART M. BERNSTEIN
                                            UNITED STATES BANKRUPTCY JUDGE




DOCS_NY:38297.3 42331/003
